                                               Case 2:19-cv-08109-SVW-MAA Document 46-2 Filed 10/26/20 Page 1 of 4 Page ID #:387




                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         2
                                                                             Laura E. Inlow, Esq., State Bar No. 130584
                                                                             Email: laura.inlow@cdiglaw.com
                                                                         3   21515 Hawthorne Blvd., Suite 800
                                                                         4   Torrance, CA 90503
                                                                             Telephone: (424) 212-7777
                                                                         5   Facsimile: (424) 212-7757
                                                                         6
                                                                             Attorneys for Defendant, COUNTY OF LOS ANGELES
                                                                         7

                                                                         8                       UNITED STATES DISTRICT COURT
                                                                         9
                                                                                      CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                        10
                                                                             DANIEL NERSOYAN,                         CASE NO. CV19-08109 SVW (MAAx)
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                               Plaintiff,             DECLARATION OF TIM BERNS
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                      IN SUPPORT OF DEFENDANT
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13               v.                           COUNTY OF LOS ANGELES’
                                                                        14                                            MOTION FOR SUMMARY
                                                                             COUNTY OF LOS ANGELES, a                 JUDGMENT
                                                                        15   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S
                                                                        16   DEPARTMENT, a public entity;
                                                                             SHERIFF JAMES MCDONNELL, in              Date: November 30, 2020
                                                                        17   his official capacity and as an
                                                                             individual; DEPUTY KENNETH               Time: 1:30 p.m.
                                                                        18   COLLINS, individually and in his         Dept.: 10A
                                                                             official capacity as a Deputy, and
                                                                        19   DOES 1 through 10, inclusive
                                                                                                                      Action Filed: September 18, 2019
                                                                        20                     Defendants.            Trial Date: January 12, 2021
                                                                        21

                                                                        22
                                                                                  I, Tim Berns, declare:
                                                                        23
                                                                               1. I retired in 2018 from my former position as a Detective with the Los
                                                                        24

                                                                        25        Angeles Sheriff’s Department (LASD). I currently live outside the state of
                                                                        26
                                                                                  California but can be reached through counsel for the County of Los
                                                                        27

                                                                        28
                                                                                   Angeles.
                                                                             ______________________________________________________________________________
                                                                                                                   -1-
                                                                                                   DECLARATION OF DETECTIVE TIM BERNS
                                               Case 2:19-cv-08109-SVW-MAA Document 46-2 Filed 10/26/20 Page 2 of 4 Page ID #:388




                                                                         1      2. I make and give the following declaration based on personal knowledge.
                                                                         2
                                                                               3. I joined the LASD in 1989. I thereafter had several duty assignments in
                                                                         3

                                                                         4         custody and patrol.

                                                                         5     4. From April of 2003 until my retirement in 2018, I was assigned to the Fraud
                                                                         6
                                                                                   and Cyber Crimes Bureau. In 2017, I was assigned to Fraud and Cyber
                                                                         7

                                                                         8         Crimes working on a joint ID Theft Task Force with the FBI, Secret Service,

                                                                         9         and Customs.
                                                                        10
                                                                               5. In mid-2017, a Reliable Confidential Informant (RCI) asked me if I would
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12         be interested in information about a “dirty cop” who was believed at that
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13         time to be with either the Riverside or San Bernardino Sheriff’s. I said yes
                                                                        14
                                                                                   and asked the RCI to obtain more information, including the name of the
                                                                        15

                                                                        16         officer. I shared this information with the FBI Agent assigned to my joint
                                                                        17         taskforce.
                                                                        18
                                                                                6. A few weeks later the RCI informed me that the name of the dirty officer
                                                                        19

                                                                        20         was Kenneth Collins. I ran the name through the LASD database and
                                                                        21         determined Kenneth Collins was a deputy sheriff with the LASD. I shared
                                                                        22
                                                                                   this information with my Sergeant, my Captain, and the FBI.
                                                                        23

                                                                        24      7. The FBI conducted the investigation and ran the undercover sting operation
                                                                        25         which resulted in the arrests of Collins and others in January of 2018.
                                                                        26
                                                                                   During their investigation, I was asked by the FBI to provide the work
                                                                        27

                                                                        28         schedule for Kenneth Collins, which I did.
                                                                             ______________________________________________________________________________
                                                                                                                   -2-
                                                                                                   DECLARATION OF DETECTIVE TIM BERNS
                                               Case 2:19-cv-08109-SVW-MAA Document 46-2 Filed 10/26/20 Page 3 of 4 Page ID #:389




                                                                         1      8. While the FBI ran the undercover operation, they allowed me and my
                                                                         2
                                                                                     partner to listen the first time they taped their undercover conversation with
                                                                         3

                                                                         4           Kenneth Collins. The FBI also allowed my partner and me to be present

                                                                         5           when they ultimately arrested Collins in January of 2018.
                                                                         6
                                                                                     I declare under penalty of perjury under the laws of the United States of
                                                                         7

                                                                         8   America that the foregoing is true and correct. Executed this 26th day of October

                                                                         9   2020.
                                                                        10
                                                                                                                      ______Tim Berns__________
                                                                        11                                            Tim Berns
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14

                                                                        15

                                                                        16

                                                                        17

                                                                        18

                                                                        19

                                                                        20

                                                                        21

                                                                        22

                                                                        23

                                                                        24

                                                                        25

                                                                        26

                                                                        27

                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                      -3-
                                                                                                      DECLARATION OF DETECTIVE TIM BERNS
                                               Case 2:19-cv-08109-SVW-MAA Document 46-2 Filed 10/26/20 Page 4 of 4 Page ID #:390




                                                                         1                                PROOF OF SERVICE
                                                                         2                                  Nersoyan v. COLA
                                                                                                           Case No. CV19-08109
                                                                         3

                                                                         4              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                                                                         5         I am employed in the County of Los Angeles, State of California. I am over
                                                                         6   the age of 18 and not a party to the within action. My business address is 21515
                                                                             Hawthorne Blvd., Suite 800, Torrance, California 90503.
                                                                         7

                                                                         8         On October 26, 2020 I served the following document described as:
                                                                             DECLARATION OF TIM BERNS IN SUPPORT OF DEFENDANT COUNTY OF LOS
                                                                         9   ANGELES’ MOTION FOR SUMMARY JUDGMENT on all interested parties in this
                                                                             action by placing [X] a true copy [ ] the original thereof enclosed in sealed
                                                                        10
                                                                             envelopes addressed as follows:
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                                                                                                            Counsel for Plaintiff
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                         Michael S. Devereux, Esq.
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13                    WEX LAW A PROFESSIONAL LAW CORPORATION
                                                                                                     1880 Century Park East, Suite 1101
                                                                        14                                Los Angeles, CA 90067
                                                                                                            Tel: 213-986-9844
                                                                        15                                  Fax: 213-342-6190
                                                                        16                                Email: mike@wex.law

                                                                        17          [X] (BY MAIL, 1013a, 2015.5 C.C.P.)
                                                                        18
                                                                                   [X] I am readily familiar with the firm’s practice for collection and
                                                                        19   processing correspondence for mailing. Under that practice, this document will be
                                                                             deposited with the U.S. Postal Service on this date with postage thereon fully
                                                                        20
                                                                             prepaid at Torrance, California in the ordinary course of business. I am aware that
                                                                        21   on motion of the party served, service is presumed invalid if postal cancellation
                                                                             date or postage meter date is more than one day after date of deposit for mailing in
                                                                        22
                                                                             affidavit.
                                                                        23
                                                                                    [X] (FEDERAL) I declare that I am employed in the office of a member
                                                                        24   of the bar of this Court at whose discretion the service was made.
                                                                        25
                                                                                   Executed on October 26, 2020 at Torrance, California.
                                                                        26
                                                                                                                    /s/ Marianne M. Guillinta
                                                                        27
                                                                                                                    Marianne Guillinta
                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                    -4-
                                                                                                    DECLARATION OF DETECTIVE TIM BERNS
